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 6

 7    ATTORNEYS FOR PLAINTIFF
      SAVVIER FITNESS LLC
 8
                                    UNITED STATES DISTRICT COURT
 9
                           CENTRAL DISTRICT OF CALIFORNIA- CENTRAL DISTRICT
       SAVVIER FITNESS LLC, A CALIFORNIA LIMITED
11     LIABILITY COMPANY;
                                                         Case No.
12

13           Plaintiff,                                Complaint for (1) Infringement of Patent
                                                       No. 9,011,294; (3) Infringement of Regis-
14                                                     tered Trademark; (4) Unfair Competition
                                                       (15 U.S.C. § 1125(a)); (5) Unfair Competi-
15                  v.
                                                       tion (Cal. Bus. & Prof. Code § 17200); (6)
                                                       Dissemination of false advertisements (15
16
                                                       U.S.C. §52); (7) Deceptive Trade Practices
17    SOUTHERN TELECOM, INC., a New York Cor-          (15 U.S.C. §52); (8) False Advertising (Cal.
      poration; DI E SPORTING GOODS, INC., a           Bus. & Prof. Code § 17500); (9) False Des-
18      elaware C rporati n- MA Y'S, INC., a Delaware ignation Of Origin/Unfair Competition or
      Corporation; THE TJX COMPANIES, INC., a        . Misleading Advertising 15 U.S.C. § l 125(a);
19    Massachusetts Corporation dba MARSHALL'S;        (10) California Common Law Unfair Com-
      TILLY'S INC., a Delaware Corporation; BELK,
      INC., a North Carolina Corporation; HUDSON'S     petition; and ( 11) Declaratory Relief
20
      BAY COMPANY, Ulc Compagnie de la Baie            Jury Trial Demanded
21    D'Hudson Sri dba SAKS OFF 5TH; and Does 1-10,

22

23           Defendants.

24          Plaintiff SAVVIER FITNESS LLC ("SF" or "Plaintiff') files this complaint against SOUTH-

25    ERN TELECOM, INC., a New York Corporation; DICK'S SPORTING GOODS, INC., a Delaware

26    Corporation; MACY'S, INC., a Delaware Corporation; THE TJX COMPANIES, INC., a Massachu-

27    setts Corporation dba MARSHALL'S; TILLY'S INC., a Delaware Corporation; BELK, INC., a

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      Complaint                                  1     SAVVIER FITNESS, LLC v .. SOUTH-
                                                             ERN TELECOM, INC., et. al.
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     North Carolina Corporation; HUDSON'S BAY COMPANY, Ulc Compagnie de la Baie D'Hudson
 2
     Sri dba SAKS OFF 5TH; and Does 1-10 (collectively "Defendants").
 3
                                            JURISDICTION AND VENUE

 4
             1.     This Court has subject-matter jurisdiction over the federal claims under 15 U.S.C
 5
     §1121 (trademark), 28 U.S.C. §§1331 and 1338 (federal question); 35 U.S.C. §1 et seq. (patent), 3
 6
     U.S.C. §271 (patent), and 28 U.S.C. §1338(b) (state law claims of unfair competition whenjoined witl
 7
     a substantial and related claim under the trademark laws).
 8
            2.      This Court has personal jurisdiction over Defendants because they ship, distribute, offe1
 9
     for sale, sell, and advertise their infringing products in California and in this district. This Court ha~

     personal jurisdiction over Defendants because at all relevant times, Defendants committed the act.
11
     alleged in this Complaint
                            . in California and in this. district.
12
            3.      Venue is proper under 28 U.S.C. §1391(b)(c)(2) against all Defendants because a sub
13
     stantial part of the events or omissions giving rise to the claim occurred in this judicial district.
14
                                                     PARTIES
15
            4.      Plaintiff Savvier is a California Limited Liability Company with a place of business a
16
     1493 Poinsettia Ave., Suite 139, Vista, CA 92081.
17
            5.      Upon information and belief, defendant Southern Telecom is a New York corporation
18
     with its principal place of business located at 5601 pt Ave., Brooklyn, New York 11220. Southern
19
     Telecom is the manufacturer of the brand "Lomi", which includes slider exercise discs that are cen-
20
     tral to Savvier' s infringement claims.
21
            6.      Upon information and belief, defendant Dick's Sporting Goods, Inc. is a Delaware
22
     Corporation with a principal place of business located at PO Box 526036, Sacramento, California,
23
     15275. Dick's Sporting Goods is an online retail seller of the Lomi sliding discs that are central to
24
     Savvier's infringement claims.
25
            7.      Upon information and belief, defendant Macy's, Inc. is a Delaware Corporation with
26
     its principal place of business located at 151 West 34th Street, New York, New York 10001. Macy's
27
     is an online retailer seller of the Lomi sliding discs that are central to Savvier' s infringement claims.
28

      Complaint                                       2      SAVVIER FITNES~ LLC v .. SOUTH-
                                                                   ERN TEL.tCOM, INC., et. al.
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             8.         Upon information and belief, defendant The TJX Companies, Inc., a Massachusetts
2
      Corporation dba Marshall's with its principal place of business located at 770 Cochituate Road,
 3
      Framingham, Massachusetts 01701. Marshall's is an online retail seller of the Lomi sliding discs that
 4
      are central to Savvier's infringement claims.
 5
             9.         Upon information and belief, Tilly's, Inc. is a Delaware Corporation with its principal
 6
      place of business located at 10 Whatney, Irvine, California 92618. Tilly's is an online retail seller of
 7
      the Lomi sliding discs that are central to Savvier's infringement claims.
 8
              10.       Upon information and belief, Belk, Inc., a North Carolina Corporation with its princi-
 9
      pal place of business located at 2801 W Tyvola Rd., Charlotte, North Carolina 28217. Belk is an
10
      online retail seller of the Lomi sliding discs that are central to Savvier' s infringement claims.
11
              11.       Upon information and belief, Hudson's Bay Company is a Canadian Corporation with
12
      its principal place of business located at 1650 Victoria St E Whitby, Ontario, LIN 94L Canada. Hud-
'13                                                                                     th
      son's Bay Company is an online retailer seller, through the online shop Saks Off 5 , of the Lomi
14
      sliding discs that are central to Savvier's infringement claims.
15
                        SAVVIER'S ASSERTED TRADEMARKS ("Marks") and PATENT
16
                  12.    Plaintiff Savvier is the owner of federal trademark registrations to the mark Gliding
17
      for its fitness sliding discs ("Mark"), Reg. No. 3285762 (IC 028 and 041), and 3301646 (IC 009) is-
18
       sued by the United States Patent and Trademark Office ("USPTO") on August 28, 2007, and Octo-
19
                                        ber 2, 2007, respectively (the "Mark").
20
              13.       Plaintiff is also the owner of the patented technology embodied in its Gliding discs
21
      patent (#9011294)[the "Apparatus Patent", Apparatus Patent shall be referenced as the "Patent"].
22
              14.       As of May 2004, Plaintiff Savvier's predecessors (Savvier L.P. and Savvier Inc.) b ga

      using the Gliding Mark on products sold in the United States and worldwide. The Gliding Mar
24
      quickly came to signify the quality and reputation of Plaintiff Savvier' s products.
25
              15. Affidavits have been filed pursuant to Sections 8 and 15 of the Lanham Act, 15 U.S.C
26
      §§105 8 and 1065, and this registration is incontestable.
27

28

       Complaint                                        3      SAVVIER FITNES~ LLC v .. SOUTH-
                                                                     ERN TELtCOM, INC. et. al.
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            14. The Gliding patent relate to an innovative fitness product and design by co-inventor
2
     Mindy Mylrea and Jeff Tuller, namely a sliding exercise disc along the floor surface that allows i~
 3
     user to perform a series of exercises.
 4
            16.     Jeff Tuller is a co-founder of Savvier LP in 2003 and of the successor fitness compau
 5
     Savvier Fitness LLC in 2018 and has been in the business of developing, marketing and selling nu
 6
     merous successful fitness products that include the Bender Ball®, Six Second Abs®, Tabat
 7
     Bootcamp®, Flirty Girl Fitness®, and The Booty Kicker®.
 8
             17.    Mindy Mylrea, the co-inventor of the Gliding disc, is a mother of three and a ma te1
 9
     trainer with over 30 years in the fitness industry (she is a Fitness Instructor of the Year, and Fitnes.
10
     Trainer of the Year, both awarded by International Fitness Organizations). Ms. Myrea is on the pr
11
     development team for SCHWINN® Cycling, BODY BAR®, FLIRTY GIRL FITNESS®, and
                                                                              .
                                                                                 is th ·
                  .                  .                    .
12
     creator of TABATA BOOTCAMP®, a popular line of DVD fitness instruction. She, along with be1
13
     husband Bruce, are the founders of the non-profit organization One Day To Wellness, which provide
14
     education around the world to help people transform their lives to healthier lifestyles of nutrition an
15
     exercise, which arose after Bruce's struggles with cancer.
16
            DEFENDANTS' ACCUSED PRODUCT AND ACTIONS RELATED THERETO
17
              18. Defendant Southern Telecom is using Plaintiff's Gliding Mark to manufacture and bran
18
     their own near identical product as Lomi Fitness "Gliding Discs", which they sell both online and i1
l9
     retail stores. This false branding exists prominently on the outside front of the box of this product in
20
     larger font than the rest of the product description, and likewise, on the back of the product box in
21
     larger font. Southern Telecom also refers to its product as "Gliding Discs" in the inside instruction
22
     for the product, all of which is likely to cause consumer confusion between Southern Telecom's "Glid
23
     ing Discs" and Plaintiffs "Gliding Discs." Defendant also advertises its "Gliding Discs" on the Inter
24
     net. The packaging of the Lomi "Gliding Discs" product sold by Southern Telecom utilizes Plaintiff
25
     "Gliding" trademark in an infringing and confusing manner by referring to the Lomi product as 'Glid
26
     ing Discs".
27

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      Complaint                                      4      SAVVIER FITNES~ LLC v .. SOUTH-
                                                                  ERN TELn OM, INC., et. al.
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             19.     Defendants, either alone or in conjunction with others, have infringed, contributed t
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     infringement, and/or induced infringement of Plaintiffs Marks and Patent using, selling and/or offi r
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     ing to sell, and/or causing others to use, sell and/or offer to sell, Defendant's Lomi "Gliding Discs"
 4
     and the products of others that infringe upon Plaintiffs rights (the "Accused Products").
 5
             20.     Upon information and belief, Defendants are advertising for sale and offering the Ac
 6
     cused Products for sale in the United States and in this district.
 7
     Upon information and belief, Defendants are infringing on Plaintiffs Marks and Patent by offering
 8
     the Accused Products for sale through websites in the United States and within this district. This list
 9
     is non-exclusive and only reflects the websites which are currently known to Plaintiff. The following

     offer the Accused Products for sale and delivery to citizens in the United States and in this district:
11
             (a) Dick's Spory:ing Goods
12
             (b) Macy's
13
             (c) Tilly's
14
             (d) Saks Off 5th
15
             (e) Belk
16
             (f) Marshall's
17
             (g) Hudson's Bay Company
18

             21.     Upon information and belief, Defendants have participated in the website adverti sin
19
     for the Accused Products either alone or in conjunction with others in those website advertising post
20
     ings and knowingly, willfully, and deliberately participated jointly with the other Defendants to in
21
     fringe on Plaintiffs Patent and Marks in the United States and in this district.
22
             22.     Upon information and belief, Defendants have knowingly, willfully, and deliberatel
23
     disseminated advertisements regarding the Accused Products through websites which are readily avail
24

25
     able to citizens in the United States and this district.

26

27

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      Complaint                                        5        SAVVIER FITNES§,, LLC v .. SOUTH-
                                                                      ERN TELtCOM, INC., et. al.
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             23.     Mr. Tuller's and Ms. Myrea's vanguard gliding disc technology described and clai.me
 2
     in the patent-in-suit has been adopted and used by fitness centers, instructors, and consumers world
 3
     wide. Moreover, current fitness industry leaders have recognized the value of the Patent resultant fron
 4
     the patent-in-suit.
 5
             24.     The '294 patent issued on April 21, 2015. The inventors of the '294 patent are Jef
 6
     Tuller and Mindy Mylrea. The '294 patent is now, and has been at all times since its date of issue
 7
     valid and enforceable.
 8
             DEFENDANTS' INFRINGING ACTIVITIES AND NOTICE THEREOF
 9
             25.     Defendants have been, currently are and continue to directly and/or indirectly infring

     one of more claim of the Gliding disc Patent by making, using, selling, offering to sell and/or importin
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     into the
            .
              United States one or more
                                     .                                                      . Patent or tha
                                        products and/or services. that infringe the Gliding disc
12
     are specially adapted for use in infringing products. Such activities include (1) sales and dislributior
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     of infringing gliding discs through corporate owned retail stores, including stores located in this distric
14
     to customers in this district for use in this district; (2) sales and distribution of infringing sliding cli cs
15
     through online offerings accessible by a search of customers in the district on the Internet, knowing!
16
     for use by the customers in this district; (3) direct solicitation of sales and actual sales of infringin
17
     sliding discs to customers, including customers in this district, via online websites including but no
18
     limited to those listed above; (4) knowingly communicating with customers, including customers Jo
19
     cated in this district, through telephone and online contacts for technical support of the infringing us
20
     of sliding discs and associated services sold by Defendant; (5) conducting marketing, promotion, an
21
     advertising activities for infringing sliding discs within this district and elsewhere in the United States
22
     such activities thereby including offers to sell directed at customers in this district; (6) providing in
23
     structions, support and services to customers who are infringing the Gliding disc Patent, includin
24
     customers in the district, and (7) engaging in licensing agreements with companies, including c mpa
25
     nies located in this district, for the marketing, advertising, sales, support and use of sliding discs tha
26
     infringe the Gliding disc Patent.
27

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      Complaint                                         6      SAVVIER FITNESS, LLC v .. SOUTH-
                                                                     ERN TELECOM, INC., et. al.
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               26.   Upon information and belief, Defendants indirectly infringe one or more claims of th
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     Gliding disc Patent by knowingly making, using, offering to sell or importing into the United State
 3
     one or more materials or components of the claimed inventions of the Gliding disc Patent for use i
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     practicing the patent inventions.
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               27.   Upon information and belief, Defendants have continued to infringe the patent-in-suit
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     despite their knowledge of them and in reckless disregard for Plaintiffs Patent rights.
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               28.   Plaintiff has been irreparably harmed by the Defendants' infringement of its valuabl
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     Patent rights. Moreover, Defendants' unauthorized, infringing use of Plaintiffs Patented methods an
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     design has threatened the value of this intellectual property because Defendants' conduct results i
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     Plaintiffs loss of its lawful Patent rights to exclude others from making, using, selling, offering to el
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     and or importing the Patented inventions.
12
               29.   Defendants' disregard for Plaintiffs property rights similarly threatens Plaintiffs rela
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     tionships with current and potential licensees of this intellectual property. Defendants will derive
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     competitive advantage over any of Plaintiffs existing and future licensees from using Plaintiffs Pa
15
     tented technology without paying compensation for such use. Accordingly, unless and until Defend
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     ants' are enjoined from continued acts of infringement, Plaintiff will suffer further irreparable harn
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     for which there is no adequate remedy at law.
18
                                    FIRST CAUSE OF ACTION
19
                     (Infringement of U.S. Patent No. 9,011,294, against all Defendants)
20
               30.   Plaintiff incorporates paragraphs 1 through 29 by reference as if fully stated within thi
21
     paragraph.
22
               31.   Defendants either make, use, sell and offer to sell, and/or import into the United State
23
     for subsequent use and sale sliding disc products that infringe, directly and/or indirectly, or whj c
24
     employ components, and or steps that make use of products that infringe, directly and/or indirectly
25
     claims of the '294 Apparatus Patent. These infringements include, but are not limited to the Lorn
26
     Fitness Gliding Disc Infringement of Claims 1, 2, 3, 4, 12, 13, 14, and 19 of Plaintiffs '294 Apparatu.
27
     Patent.
28

      Complaint                                       7      SAVVIER FITNES~ LLC v .. SOUTH-
                                                                   ERN TELtCOM, INC., et. al.
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              32.   The designs of the sliding disc products made, used, sold and offered for sale, and/or
 2
     imported into the United States for subsequent use and sale by Defendants are so similar to the claime
 3
     design of the '294 patent that a purchaser familiar with the prior art would be deceived by the similari
 4
     between the claimed design and the designs of the infringing sliding disc products of Defendants.
 5
     "inducing him to purchase one supposing it to be the other".
 6
              33.   Defendants continuing acts of infringement constitute willful infringement of the '29
 7
     Apparatus Patent.
 8
              34.   Defendants' activities infringing the '294 Apparatus Patent have damaged Plaintiff an
 9
     will continue to cause Plaintiff irreparable harm unless such infringing activities are enjoined by tbi

     Court.
11
                                        SECOND CAUSE OF ACTION
12
          (Infringement of a Registered Trademark (15 U.S.C. §1114), Against All Defendants)
13
              35.   Plaintiff hereby incorporates by reference each of the allegations set forth in paragraph
14
     1 through 29 of this Complaint as though fully set forth in this cause of action.
15
              36.   Defendants have used Plaintiffs Gliding Mark (Reg. #3285762) in commerce by man
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     ufacturing (on information and belief), advertising and selling the Accused Products with the GJidin
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     Mark without the consent of Plaintiff, the registrant of said Mark.
18
              37.   Defendants have manufactured (on information and belief), advertised, and sold th
19
     Accused Products with the Gliding Mark in commerce in a manner that is likely to cause co11Sl1me1
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     confusion and deceive the public regarding the source, sponsorship, and/or affiliation of those Mar        ·
21
     and products associated with the Marks. Defendants' sale of the infringing Accused Products is there
22
     fore unlawful and is causing irreparable harm to Plaintiffs brands.
23
              38.   Defendants' actions as described herein constitute direct and/or contributory trademar
24
     infringement in violation of 15 U.S.C. §1114(1)(a)-(b).
25
              39.   As a proximate result of Defendants' trademark infringement, Plaintiff has been dam
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     aged in an amount to be proven at trial.
27

28

      Complaint                                       8     SAVVIER FITNESS, LLC v .. SOUTH-
                                                                  ERN TELECOM, INC., et. al.
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            40.     Plaintiff alleges upon information and belief that, as a proximate result of Defendants ·
 2
     trademark infringement, Defendants have unlawfully profited in an amount to be proven at trial.
 3
            41.     At all relevant times, Defendants acted intentionally and/or willfully in using Plaintiff
 4
     Mark in their advertising, knowing Plaintiffs Mark belongs to Plaintiff, and that Defendants were no
 5
     and are not authorized to use Plaintiffs Marks in advertising the Accused Products.
 6
            42.     Defendants' knowing, intentional and/or willful actions make this an exceptional ca e
 7
     entitling Plaintiff to an award ofreasonable attorney fees pursuant to 15 U.S.C. §l 117(a).
 8
            43.     Defendants' actions also constitute the use by Defendants of one or more "cow,terfei
 9
     marks" as defined in 15 U.S.C. §1116(d)(l)(B). Plaintiff therefore reserves the right to elect, at an

     time before final judgment is entered in this case, an award of statutory damages pursuant to 15 U.S.C
11
     § 1117(c)(1) and/or (2).
12
            44.     The acts of direct and/or contributory trademark infringement committed by Defend
13
     ants have caused, and will continue to cause, Plaintiff irreparable harm unless they are enjoined by t:ru
14
     Court and Plaintiff accordingly seeks injunctive relief against Defendants as allowed by law.
15
                                         THIRD CAUSE OF ACTION
16
           (Unfair Competition under Federal Law, 15 U.S.C. § 1125, Against All Defendants)
17
            45.     Plaintiff hereby incorporates by reference each of the allegations set forth in paragraph
18
     1 through 29 of this Complaint as though fully set forth in this cause of action.
19
            46.     Defendants have used the Mark in manufacturing (on information and belief), adverti s
20
     ing, and selling the Accused Products in such a way that is likely to cause confusion, or to cau
21
     mistake or to deceive as to the affiliation, connection, or association of Plaintiffs Gliding Marks witl
22
     the Accused Products, when such are Plaintiffs brand that is separate from Defendants' Acc use
23
     Products.
24
            47.     Plaintiff hereby alleges federal unfair competition in violation of Section 43(a) of th
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     Lanham Act, 15 U.S.C. § 1125(a). Defendants' adoption and use of the Plaintiffs Marks, or approxi
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     mations or simulations thereof, as hereinabove pleaded, constitutes use of a false designation of rigi .
27
     or a false representation, which wrongfully and falsely designates, describes or represents the origin
28

      Complaint                                       9     SAVVIER FITNES~ LLC v .. SOUTH-
                                                                  ERN TELtCOM, INC., et. al.
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       of Defendants' products and business as originating from or being in connection with Plaintiff whe
  2
       this is not the case, and thereby constitutes a false description or representation used in interstate com
  3
       merce readily available to citizens in the United States and this district. Plaintiff has been and i
  4
       continuing to be damaged by such violation and has no adequate remedy at law. Defendants' unlawfu
  5
       and willful conduct will continue to damage Plaintiff unless enjoined by this Court. Based on Defend
  6
       ants' previous and continuing knowledge of Plaintiffs Federally Registered Marks and continued ac
  7
       tivities, Defendants' federal unfair competition violation is willful.
  8
                                          FOURTH CAUSE OF ACTION
  9
                (Unfair Competition (Cal. Bus. & Prof. Code § 17200), Against All Defendants)
 10
              48.     Plaintiff hereby incorporates by reference each of the allegations set forth in paragraph
 11
       1-29 of this Complaint as though fully set forth in this cause of action.
                      .                                                     .
 12
              49.     Plaintiff hereby alleges Defendants have committed unlawful and/or fraudulent act.
 13
       and/or conduct by using Plaintiffs trademarks and thereby misleading consumers in California as t
 14
       the source of the product, when in fact Plaintiff is the sole owner of the Marks and Defendants ar
 15
       neither the owners nor authorized by the Plaintiff in any manner. Such actions are misleading con
 16
       sumers since Defendants are not and have never been authorized by Plaintiff to make, manufacLure
 17
       distribute, sell, advertise, or offer to sell Defendants' Accused Products using Plaintiffs Mark.
 '18
              50.     Defendants have knowingly, willfully, and deliberately committed fraudulent act
 19
       and/or conduct that falsely represents, or is likely to confuse, mislead, or deceive purchasers, custom
20
       ers, or members of the public to believe that the unauthorized products imported, exported, manufac
21
       tured, reproduced, distributed, assembled, acquired, purchased, offered, sold, transferred, broker d
22
       consigned, distributed, stored, shipped, marketed, advertised and/or promoted by Defendants originat
23
       from Plaintiff, or that said merchandise has been sponsored, approved, licensed by, or associated witJ
24
       Plaintiff or is in some way, connected or affiliated with Plaintiff to compete unfairly against Plaintiff
25
       Plaintiff has been and is being damaged by such violation and has no adequate remedy at law. Defend
26
       ants' unlawful and willful conduct will continue to damage Plaintiff unless enjoined by this          ourt
27

28

        Complaint                                      10      SAVVIER FITNES§; LLC v .. SOUTH-
                                                                     ERN TELbCOM, INC., et. al.
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      Based on Defendants' previous and continuing knowledge of Plaintiffs Marks, and sales of their prod
  2
      ucts, Defendants' California unfair competition violation is willful under California Business and Pro
  3
      fessions Code sections 17200 - 17209 ("UCL") and affected consumers are entitled to an order fro
  4
      this Court designed to restore through an appropriate disgorgement of profits Defendants' ill-gotte
  5
      gains.
  6
                                             FIFTH CAUSE OF ACTION
  7
               (Dissemination of False Advertisements (15 U.S.C. §52), Against All Defendants)
  8
               51.    Plaintiff hereby incorporates by reference each of the allegations set forth in paragraph
  9
      1 through 29 of this Complaint as though fully set forth in this cause of action.
 10
               52.    Plaintiff hereby alleges Defendants have knowingly, willfully, and deliberately diss m
 11
      inated false advertisements through websites and the Internet which are readily available to citizens i1
 L2
      the United States and this district. The advertisements knowingly, willfully, and deliberately di.ssem
 13
      inated by Defendants used Plaintiffs distinctive Mark. Defendants know that they have no right t
 14
      use the Mark. The effect of the dissemination of these false advertisements by Defendants is negativ
 15
      on consumers as it is meant to confuse, mislead, or deceive purchasers, customers, or members of th
 16
      public to believe that the unauthorized products imported, exported, manufactured, reproduced, dis
 17
      tributed, assembled, acquired, purchased, offered, sold, transferred, brokered, consigned, distributed
 18
      stored, shipped, marketed, advertised and/or promoted by Defendants originate from Plaintiff, or tha
 19
      said merchandise has been sponsored, approved, licensed by, or associated with Plaintiff or is in som
 20
      way, connected or affiliated with Plaintiff to compete unfairly against Plaintiff.
 21
               53.    Plaintiff has been and is being damaged by such violation and has no adequate re med
 22
      at law. Defendants' unlawful and willful conduct will continue to damage Plaintiff unless enjoined b
 23
      this Court. Based on Defendants' previous and continuing knowledge of Plaintiffs Marks, and th eir
24
      continued sales of their products, Defendants' knowingly, willfully, and deliberately disseminated fals
25
      advertisements offering for sale the Accused Products through websites readily available to citizens ·
26
      the United States and this district.
27

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       Complaint                                      11     SAVVIER FITNESS, LLC v .. SOUTH-
                                                                   ERN TELECOM, INC., et. al.
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                                            SIXTH CAUSE OF ACTION
  2
                     (Deceptive Trade Practices (15 U.S.C. §52), Against All Defendants)
  3
              54.     Plaintiff incorporates by reference each of the allegations set forth in paragraphs 1
  4
      through 29 of this Complaint as though fully set forth in this cause of action.
  5
              55.     Defendants' actions set forth herein constitute continued violations of the Federal Uni
  6
      form Deceptive Trade Practices Act (UDTPA) (15 U.S.C. §52, et seq.).
  7
              57.     As a proximate result of Defendants' deceptive trade practices, Plaintiff has been dam
  8
      aged in an amount to be proven at trial.
  9
              58.     Plaintiff alleges upon information and belief that, as a proximate result of Defendants

      deceptive trade practices, Defendants have unlawfully profited in an amount to be proven at trial.
 11
              59.     The conduct of each Defendant is causing and, unless enjoined and restrained by thi
 12
      Court, will continue to cause, Plaintiff irreparable injury for which Plaintiff has no adequate remed
 13
      at law. Therefore, Plaintiff is entitled to injunctive relief.
 14
              60.     Defendants have willfully and knowingly engaged in deceptive trade practices in vio
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      lation ofUDTPA (15 U.S.C. 52, et seq.), and therefore Plaintiff is entitled to an award of reasonabl
 16
      attorney fees pursuant to UDTPA (15 U.S.C. 52, et seq.)
 17
                                         SEVENTH CAUSE OF ACTION
 18
                (False Advertising (Cal. Bus. & Prof. Code § 17500), Against All Defendants)
 19
              61.     Plaintiff hereby incorporates by reference each of the allegations set forth in paragraph
 20
      1 through 29 of this Complaint as though fully set forth in this cause of action.
 21
              62.     Plaintiff hereby alleges Defendants have knowingly, willfully, and deliberately mad
 22
      and are continuing to make false or misleading statements in connection with the Accused Products
 23
      and Defendants knew, or should have known, that the statements were false or misleading before ad
 24
      vertising and offering to sell the Accused Products through websites which are readily available t
25
      citizens and residents in California and this district. The false or misleading statements knowingly
26
      willfully, and deliberately made by Defendants in their advertisements used Plaintiffs distinctive reg
27
      istered trademarks for which Defendants know that they have no right to use, and those register
28

       Complaint                                        12      SAVVIER FITNESS , LLC v .. SOUTH-
                                                                      ERN TELECOM, INC., et. al.
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       trademarks represent Plaintiffs products. The effect of the false or misleading statements of thes
  2
       advertisements by Defendants is negative on consumers as it will confuse, mislead, or deceive pur
  3
       chasers, customers, or members of the public to believe that the unauthorized products imported, ex
  4
       ported, manufactured, reproduced, distributed, assembled, acquired, purchased, offered, sold, trans
  5
       ferred, brokered, consigned, distributed, stored, shipped, marketed, advertised and/or promoted by De
  6
       fondants originate from Plaintiff, or that said merchandise has been sponsored, approved, licensed by
  7
       or associated with Plaintiff or is in some way, connected or affiliated with Plaintiff to compete unfair]
  8
       against Plaintiff.
  ()
               63.       Plaintiff has been and is being damaged by such violation and has no adequate r med
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       at law. Defendants' unlawful and willful conduct will continue to damage Plaintiff unless enjoined by
 11
       this Court. Based on Defendants' previous and continuing knowledge of Plaintiffs Marks, Defendants
                         •                          a                          •                          •




 12
       are knowingly, willfully, and deliberately making false or misleading statements in their advertise
 13
       ments offering for sale the Accused Products through websites is willful and unlawful under Californi
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       False Advertising Law (Bus. & Prof. Code, §§ 17500, et seq.) and Plaintiff is entitled to an order        t

 15
       restore to consumers Defendants' profits obtained through these ill-gotten means.
 16

 17
                                            EIGHTH CAUSE OF ACTION
 1.8
                     (False Designation of Origin/Unfair Competition or Misleading Advertising
 19
                                     (15 U.S.C. §1125(a)), Against All Defendants)
 20
               64.       Plaintiff hereby incorporates by reference each of the allegations set forth in paragraph
 21
       1 through 29 of this Complaint as though fully set forth in this cause of action.
 22
               65.       Defendants' actions as described herein constitute a direct and/or contributory violatio
 23
       of 15 U.S.C. §1125(a)(l)(A), as such actions are likely to: (a) cause confusion; (b) cause mistake
 24
       and/or (c) deceive as to the affiliation, connection, or association of Defendants with Plaintiff and/a
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       to the origin, sponsorship, and/or approval of such goods by Plaintiff.
 26
               66.       As a proximate result of Defendants' trademark infringement, Plaintiff has been dam
 27
       aged in an amount to be proven at trial.
 28

        Complaint                                        13     SAVVIER FITNESS, LLC v .. SOUTH-
                                                                      ERN TELECOM, IN ., et. al.
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             67.     Plaintiff alleges upon information and belief that, as a proximate result of Defendants ·
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      trademark infringement, Defendants have unlawfully profited in an amount to be proven at trial.
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             68.     Defendants' acts of violating Section 1125 have caused, and will continue to cause
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      Plaintiff irreparable harm unless they are enjoined by this Court.
  5
                                         NINTH CAUSE OF ACTION
  6
                      (State Common Law Unfair Competition, Against All Defendants)
  7                  Plaintiff hereby incorporates by reference each of the allegations set forth in paragraph
             69.
  8
      1 through 29 of this Complaint as though fully set forth in this cause of action.
  9
             70.     Defendants have committed acts and/or engaged in conduct by unlawfully using Plain
 JO
      tiffs trademarks and thereby misleading consumers in California as to the source of the product
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       making misleading statements that Plaintiff is only a licensed manufacturer of the Plaintiffs produ t
                              -                             .                       .
 12
       when in fact Plaintiff is the sole owner of the Marks and Defendants are neither the owners nor au
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       thorized by the Plaintiff in any manner. Such actions are misleading consumers since Defendants ar
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       not and have never been authorized by Plaintiff to make, manufacture, distribute, sell, advertise,    01

 JS
       offer to sell the Accused Products bearing Plaintiffs Mark.
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             71.     Defendants have knowingly, willfully, and deliberately committed fraudulent act
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      and/or conduct that falsely represents, or is likely to confuse, mislead, or deceive purchasers, custom
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      ers, or members of the public to believe that the unauthorized products imported, exported, manufac
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      tured, reproduced, distributed, assembled, acquired, purchased, offered, sold, transferred, brokered
 20
      consigned, distributed, stored, shipped, marketed, advertised and/or promoted by Defendants originat
 21
      from Plaintiff, or that said merchandise has been sponsored, approved, licensed by, or associated wi
 22
      Plaintiff or is in some way, connected or affiliated with Plaintiff to compete unfairly against Plaintiff
 23
      Plaintiff has been and is being damaged by such violation and has no adequate remedy at law. Defend
 24
      ants' unlawful and willful conduct will continue to damage Plaintiff unless enjoined by this         mt
 25
      Plaintiff is likewise under California case law entitled to recover its damages from Defendants incurre
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      as a result of Defendants' unfair competition.
 27

 28

       Complaint                                       14       SAVVIER FITNES~ LLC v .. SOUTH-
                                                                      ERN TELtCOM, INC., et. al.
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                                          TENTH CAUSE OF ACTION
 2
                        (Declaratory Relief, against all Defendants, in the Alternative)
  3
               72.    Plaintiff hereby incorporates by reference each of the allegations set forth in paragrap
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      1 through 29 of this Complaint as though fully set forth in this cause of action.
  5
               73.    Plaintiff contends that the facts presented in this Complaint are irrefutable and are no
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      a hypothetical state of facts and create an appropriate case or controversy under 28 U.S.C. §2201.
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               74.    Plaintiff requests the court provide Plaintiff with Declaratory Relief and that a declara
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      tory judgment be granted under 28 U.S.C. §2201 stating that Defendants are not authorized to use th
  9
      Marks.
 10
                                            REQUEST FOR RELIEF
 11
               WHEREFORE, Plaintiffs. hereby respectfully request the following relief against Defendants
                                                              .                          .
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      jointly and severally, inclusive and each of them as follows:
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               a.     That this Court adjudge and decree that the Gliding Disk Patent are infringed by De
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      fondants, that Defendants have induced infringement, and that Defendant has contributed to infringe
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      ment.
 16
               b.     That infringement, inducement of infringement, and contributing to infringement b
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      Defendants has been willful.
 18
               C.     That this Court permanently enjoin Defendants and their officers, directors, agents
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      servants, employees, attorneys, successors, licensees, assigns, and all others in active concert or par
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      ticipation with Defendants, from engaging in any acts that constitute infringement, inducement of in
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      fringement, or contributory infringement of the Gliding Disk Patent.
22
               d.     That this Court order an accounting, including a post-verdict accounting, to detennin
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      the damages to be awarded to Plaintiff as a result of Defendants' infringement.
24
               e.     For an order finding that Defendants have infringed the Trademark US Registratiot
25
      Number 3285762 and how such infringement was willful;
26
               f.     For an order temporarily, preliminarily and permanently enjoining Defendants, thei1
27
      officers, directors, agents, servants, affiliates, employees, subsidiaries, divisions, branches, parents
28

       Complaint                                      15      SAVVIER FITNESS, LLC v .. SOUTH-
                                                                    ERN TE ECOM, INC., et. al.
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      attorneys, representatives, and all others acting in concert or privity with any of them, from infringin
  2
      the Trademark US Registration Number 3285762, and from inducing others to infringe such Mark;
 3
             g.      For an order temporarily, preliminarily and permanently enjoining Defendants, thei1
  4
      officers, directors, agents, servants, affiliates, employees, subsidiaries, divisions, branches, parents
  5
      attorneys, representatives, and all others acting in concert or privity with any of them, from infringin
  6
      the Trademark US Registration Number 3285762, and from inducing others to infringe this Mark;
  7
             h.      Defendants be ordered to cease offering for sale, marketing, promoting, and selling an
  8
      to recall all Infringing Accused Products, or any other goods bearing the Infringing Marks or an
  9
      other confusingly similar imitation of Plaintiffs Marks that are in Defendants' possession or hav
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      been shipped by Defendants or under its authority, to any customer, including, but not limited to, an ·
 11
      wholesaler, distributor, retailer, consignor, or marketer, and also to deliver to each such store or us
 12
      tomer a copy of this Court's order as it relates to said injunctive relief against Defendants;
 13
                     Plaintiff be awarded all damages caused by the acts forming the basis of this Comp.taint
 14
      except where such damages are not otherwise available under California Business & Profession
 15
       Codes §§ 17200 and 17500. As to those sections, Plaintiff seeks a disgorgement of all profits an
 16
      restoration to consumers of those monies received through Defendants' unfair competition;
 17
             J.      Based on Defendants' knowing and intentional use of a confusingly similar imitatio
 18
       of the Plaintiffs Mark, the damages awarded be trebled and the award of Defendants' profits b
 19
       enhanced as provided for ,b y 15 U.S.C. § 1117(a);
 20
             k.      Defendants be required to pay to Plaintiff the costs and reasonable attorneys' fees in
 21
      curred by Plaintiff in this action pursuant to 35 U.S.C. § 285 and pursuant to 15 U.S.C. § 1117(a) an
22
      other applicable law and the state statutes cited in this Complaint;
23
             1.      This Court find that Defendants' infringement and actions render this case an exce_p
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       tional case within the meaning of 35 U.S.C. § 285 and that Plaintiffs be awarded attorneys' fees;
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             m.      Plaintiff be awarded prejudgment and post-judgment interest on all monetary awards;
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             n.      Plaintiff be awarded a declaration of Judgment under 28 U.S.C. §2201.
27
             o.      Plaintiff be awarded costs of suit; and
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       Complaint                                      16       SAVVIER FITNES~ LLC v .. SOUTH-
                                                                     ERN T Lt OM, INC., et. al.
                                                                                       1
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           p.     Plaintiff be granted such other and further relief as the Court deems just and proper.
  2
           JURY DEMAND
  3
           Plaintiff hereby demands that all issues be tried by a jury under FED. R. CIV. P. 38(b).
  4

  5
      Dated: May 6, 2022                       COSTALAW
  6
                                               By: Isl .Joseph P. Co. ·ta
  7
                                               ATTORNEY FOR PLAINTIFF SAVVIER FITNESS LLC
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                                                                 ERN TELECOM, INC., et. al.
